        Case 17-68222-bem              Doc 8 Filed 10/19/17 Entered 10/19/17 14:21:13                   Desc Order
                                          Unpaid Fees Petition Page 1 of 1
                                         UNITED STATES BANKRUPTCY COURT
                                              Northern District of Georgia
                                                   Atlanta Division


In Re: Debtor(s)
       Jeremiah Aiden Bennett                                         Case No.: 17−68222−bem
                                                                      Chapter: 13


                          ORDER REGARDING UNPAID FILING FEES
      The Debtor(s) filed a voluntary petition on October 18, 2017. The amount needed to pay the filing fee in full is
$235.00. Accordingly,

IT IS ORDERED that by October 26, 2017, the Debtor(s) shall

   pay the fee in full, the balance due being $235.00

OR

   file an Application to Pay the Filing Fee in Installments. This Application must provide for an initial payment of at
least $75.00 that is due at the time of filing. The application must provide for no more than two additional installment
payments. There is no balance due on the initial installment.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                                United States Bankruptcy Court
                                                 1340 Richard Russell Building
                                                   75 Ted Turner Drive, SW
                                                      Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is not
accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional office will
accept these forms of payment as well as cash.


Failure of the debtor to take the appropriate action by October 26, 2017 will result in dismissal of this case without further
notice or opportunity for hearing.

SO ORDERED, on October 19, 2017 .




                                                                      Barbara Ellis−Monro
                                                                      United States Bankruptcy Judge



Form 436 Order Regarding Unpaid Filing Fees. − (Revised June, 2015)
